                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
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KASIE STEVENS-BRATTON, individual     )
and on behalf of all other similarly situated,
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                                      )
      Plaintiff,                      )   No. 2:15-cv-2472
                                      )   Oral Argument Requested
v.                                    )
                                      )
TRUGREEN, INC.,                       )
                                      )
      Defendant.                      )
______________________________________________________________________________

MEMORANDUM IN SUPPORT OF MOTION FOR PARTIAL SUMMARY JUDGMENT
            AS TO PLAINTIFF’S DNC-RELATED CLAIMS


       Plaintiff’s Complaint in this case alleges six claims against TruGreen, Inc. (“TruGreen”)

under the Telephone Consumer Protection Act (“TCPA”). As detailed in TruGreen’s previously-

filed (and pending) motion for partial summary judgment, Plaintiff’s first two claims must be

dismissed because TruGreen did not use an automatic telephone dialing system to call her. See

Motion, ECF No. 109. Now that discovery is closed, the undisputed material facts demonstrate

that Plaintiff’s remaining four claims are equally without merit and subject to dismissal with

prejudice.

       Plaintiff’s remaining claims allege that TruGreen violated the TCPA by (1) failing to

establish procedures for maintaining an internal do-not-call (“DNC”) list and (2) calling Plaintiff

despite her phone number being on the National DNC Registry. But the undisputed record

shows that, contrary to Plaintiff’s allegations, TruGreen fastidiously recorded, maintained, and

honored DNC requests from existing and prospective customers. TruGreen also implemented

robust policies, procedures, and training designed to prevent improper telephone solicitations to


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individuals on the National DNC Registry. These undisputed facts foreclose Plaintiff’s ability to

prove the elements of her third and fourth causes of action under 47 C.F.R. § 64.1200(d) & 47

U.S.C. § 227(c)(5). The record also establishes that TruGreen falls within the TCPA’s safe

harbor to avoid liability for Plaintiff’s fifth and sixth causes of action under 47 C.F.R.

§ 64.1200(c) & 47 U.S.C. § 227(c)(5). The Court should grant TruGreen’s motion and dismiss

Plaintiff’s third through sixth claims with prejudice.

                                         BACKGROUND

       Between January 20 and April 2, 2015, someone in TruGreen’s Little Rock, Arkansas

branch called Plaintiff eight times. See Statement of Undisputed Material Facts in Support of

Motion for Partial Summary Judgment (“SUMF”) ¶¶ 3-4. Plaintiff alleges that during these

calls, a TruGreen employee attempted to sell her lawn care services. Compl. ¶ 20, ECF No. 1.

She also alleges that she requested not to be called on approximately three of these calls. SUMF

¶ 14; Stevens-Bratton Dep. at 74-77. Three months after Plaintiff received her last call from

TruGreen, she filed a Complaint against TruGreen. The Complaint alleged that TruGreen used

an ATDS to call her, that TruGreen failed to implement policies and procedures to honor DNC

requests, and that TruGreen called her despite her presence on the National DNC Registry. See

generally Compl.

       Plaintiff’s Complaint contained a number of untrue allegations. For example, Plaintiff

alleged that she had received over ten calls from TruGreen after January 27, 2015, even though

she only received five calls after that date. See Compl. ¶ 18; SUMF ¶ 3. She also alleged that

she had never provided her telephone number to TruGreen. See Compl. ¶ 26. That was false,

because she had actually provided her cell phone number in writing—along with consent for

TruGreen to call her at that number—when she signed a Service Agreement with TruGreen in

2013. See ECF No. 118 ¶¶ 2-5. Plaintiff’s allegation that TruGreen used an ATDS to call her


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was also false—it was based simply on her alleged memory of a “pause and a click.” Compl.

¶ 19; see Motion for Partial Summary Judgment on ATDS Claims, ECF Nos. 109-10.

       Discovery revealed that Plaintiff’s ATDS-based claims were entirely without merit.

TruGreen never used an ATDS to call Plaintiff (or any other person) in 2015. Instead, the eight

calls that Plaintiff received were made by someone in TruGreen’s Little Rock Branch, manually

dialing her number from a desktop telephone. Based on these undisputed facts, TruGreen filed a

motion for summary judgment seeking dismissal of Plaintiff’s ATDS claims on October 17,

2017. That motion remains pending. See Motion and Supporting Mem., ECF Nos. 109-10.

       Since the filing of that motion, the parties have engaged in and completed fact discovery.

Plaintiff deposed four TruGreen corporate representatives over the course of four days.

Plaintiff’s twenty-eight paragraph corporate deposition notice specifically listed detailed topics

regarding technical aspects of TruGreen’s telephony systems and databases, the calls TruGreen

made to Plaintiff, and TruGreen’s policies and procedures related to telemarketing and the

TCPA. See Amended Notice of Deposition Pursuant to Fed. R. Civ. P. 30(b)(6) (attached as

Exhibit 1).   TruGreen also answered numerous interrogatories and produced a substantial

amount of documents, including policies and procedures, in response to requests from Plaintiff.

Discovery closed on July 31, 2018. See Scheduling Order, ECF No. 116.

       Like Plaintiff’s ATDS-based claims, the record now shows that her DNC-based claims

are meritless. If Plaintiff requested not to be called in early January 2015, as she vaguely

alleges,1 then someone in TruGreen’s Little Rock branch called Plaintiff in error following those

requests. These calls cannot support a claim under the TCPA because the undisputed record

demonstrates that the calls were aberrations in contravention of TruGreen’s comprehensive
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 As discussed below, Plaintiff cannot recall the specific dates on which she allegedly requested
not to be called.



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TCPA compliance program. TruGreen trained all employees on how to handle DNC requests

and recoded, maintained, and honored those requests. TruGreen also trained its employees on

how to prevent telephone calls to individuals on the National DNC Registry, and maintained a

robust set of policies and procedures prevent such calls. TruGreen’s good faith efforts at

compliance shield it from liability under the TCPA’s statutory safe harbor provisions. In light of

undisputed record, and as discussed in detail below, TruGreen is entitled to summary judgment

on Plaintiff’s third, fourth, fifth, and sixth causes of action.

                                     STANDARD OF REVIEW

        A “court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a); accord Haddad v. Alexander, Zelmanski, Danner & Fioritto, PLLC, 758 F.3d

777, 781 (6th Cir. 2014) (per curiam).            “The moving party bears the initial burden of

demonstrating the absence of any genuine issue of material fact.” Mosholder v. Barnhardt, 679

F.3d 443, 448 (6th Cir. 2012) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)). “Once

the moving party satisfies its initial burden, the burden shifts to the nonmoving party to set forth

specific facts showing a triable issue of material fact.” Id. at 448-49.

        “When the non-moving party fails to make a sufficient showing of an essential element of

his case on which he bears the burden of proof, the moving parties are entitled to judgment as a

matter of law and summary judgment is proper.” Martinez v. Cracker Barrel Old Country Store,

Inc., 703 F.3d 911, 914 (6th Cir. 2013) (quoting Chapman v. UAW Local 1005, 670 F.3d 677,

680 (6th Cir. 2012) (en banc)). To show that a fact is, or is not, genuinely disputed, a party must

“cite[ ] to particular parts of materials in the record” or “show[ ] that the materials cited do not

establish the absence or presence of a genuine dispute, or that an adverse party cannot produce

admissible evidence to support the fact.” Bruederle v. Louisville Metro Gov’t, 687 F.3d 771, 776


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(6th Cir. 2012) (alterations in original) (quoting Fed. R. Civ. P. 56(c)(1)), cert. denied, 133 S. Ct.

866 (2013).

                                           ARGUMENT

I.     TRUGREEN ESTABLISHED INTERNAL DNC PROCEDURES PURSUANT TO
       47 C.F.R. § 64.1200(D) PRIOR TO CALLING PLAINTIFF.

       Plaintiff’s third and fourth causes of action allege that TruGreen violated 47 C.F.R.

§ 64.1200(d) & 47 U.S.C. § 227(c)(5) by failing to record, maintain, and honor DNC requests.

See Compl. ¶¶ 53-60. “Subsection (d) . . . simply requires the institution of certain procedures

prior to the initiation of telemarketing calls. A telemarketer violates this subsection not by

placing the calls themselves, but by failing to have the required procedures in place prior to the

initiation of the calls.” Simmons v. Charter Commc’ns, Inc., 222 F. Supp. 3d 121, 131 (D. Conn.

2016), aff’d, 686 F. App’x 48 (2d Cir. 2017); see also Charvat v. NMP, LLC, 656 F.3d 440, 444

(6th Cir. 2011). In order to prevail on her third and fourth claims, therefore, Plaintiff must prove

that, at the time of the alleged calls in 2015, TruGreen (a) did not have a written policy, available

upon demand, for maintaining a do-not-call list, (b) did not inform and train its telemarketing

employees in the existence and use of the DNC list, and (c) did not record DNC requests and did

not honor such requests within a reasonable time from the date the requests were made. See 47

C.F.R. § 64.1200(d).

       “If a defendant can show that it had instituted the proper procedures, plaintiff’s claim

under subsection (d) must fail for lacking an essential element of the claim.” Simmons, 222 F.

Supp. 3d at 131. That is exactly what the undisputed material facts demonstrate in this case.

These undisputed facts require the dismissal of Plaintiff’s internal DNC claims.




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       A.      TruGreen Implemented a Written Policy for Maintaining an Internal DNC
               List.

       First, at the time of the calls and as part of its routine business practice, TruGreen had a

written policy for maintaining an internal DNC list in compliance with 47 C.F.R.

§ 64.1200(d)(1).    See SUMF ¶ 10.        TruGreen’s Do Not Contact Legal Policy stated that

TruGreen was “100% committed to full compliance with all state and federal telemarketing

law[s].” Id. In order to assure compliance, TruGreen developed a policy “to comply with all

applicable laws” and directed that “[f]ull participation by all associates [was] mandatory.” Id.

TruGreen made its DNC policy available to customers upon demand, and provided a form for

employees to fill out to fulfill such a request. See id.

       B.      TruGreen Informed and Trained its Sales Agents in the Existence and Use of
               its Internal DNC List.

       Second, TruGreen’s sales agents were “informed and trained in the existence and use of

the do-not-call list” in compliance with 47 C.F.R. § 64.1200(d)(2). TruGreen’s Do Not Contact

Legal Policy mandated DNC training for TruGreen employees at the time of hire and at annual

intervals after hiring. See SUMF ¶ 11; Zoller Dep. at 44-62. The training informed employees

of the existence and use of TruGreen’s internal DNC list. See id. Pursuant to TruGreen’s policy

and training, if a TruGreen employee making a call for telemarketing purposes received a request

from a residential telephone subscriber not to receive calls from TruGreen, the person would

record the request and place the subscriber’s name, if provided, and telephone number on the

DNC list at the time the request was made. See SUMF ¶ 12; Zoller Dep. at 153.

       TruGreen trained its employees to recognize that a DNC request could be made through

phone, email, mail, or in person. See id. ¶ 12(a). Employees were “expected to respond politely

and promptly to any Do Not Contact request.” Id. Employees were trained to apologize to

individuals, never to argue with their requests, and to explain that calls would stop as soon as


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possible (and in any event within thirty days from the request). Id. TruGreen told employees

that if a customer was listed as “Do Not Call,” they “should never make an attempt to call that

individual, even if the consumer has recently cancelled TruGreen’s service.” See id. ¶ 12(d).

TruGreen warned its employees that failure to comply with TruGreen’s DNC procedures could

result in disciplinary action up to and including termination. See id.; see also id. ¶¶ 12(b)-(e);

Zoller Dep. at 59-62, 60-63, 100, 138-39, 151-52; Smith Dep. at 55-56.

       C.      TruGreen Implemented a Procedure for Recording and Honoring DNC
               Requests.

       Third, TruGreen implemented a thorough and effective procedure for recording and

honoring DNC requests within thirty days in compliance with 47 C.F.R. § 64.1200(d)(3). The

procedure for DNC requests differed for TruGreen employees in customer service and sales

roles. TruGreen customer service agents recorded DNC requests in the web-based Do Not

Contact Portal maintained by a vendor named ClickPoint. See SUMF ¶ 12(b); Zoller Dep. at 59-

62, 60-63, 100, 138-39, 151-52. TruGreen sales agents and branch employees recorded DNC

requests in a point of sale program called Olympus, which automatically updated the ClickPoint

Do Not Contact Portal. Id. If the ClickPoint Do Not Contact Portal (for customer service

agents) or Olympus (for sales agents or branch employees) were unavailable, TruGreen

employees filled out a paper Do Not Contact Request Form. A supervisor would then enter the

request into Olympus or the Do Not Contact Portal when the program became available. SUMF

¶ 12(c); Zoller Dep. at 60-61, 136-37. TruGreen honored a residential subscriber’s DNC request

within a reasonable time from the date such request was made, in any event not exceeding thirty

days from the request. SUMF ¶ 12(e); Zoller Dep. at 144. TruGreen also maintained a record of

a consumer’s request not to receive further telemarketing calls for 5 years from the time the

request was made in compliance with 47 C.F.R. § 64.1200(d)(6). SUMF ¶ 13.



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        D.     Plaintiff Cannot Establish the Elements of Her Claims Under 47 C.F.R.
               § 64.1200(D).

        The undisputed material facts show that Plaintiff’s third and fourth causes of action must

fail for lacking essential elements of the claims. Plaintiff cannot establish that, at the time of the

alleged calls in 2015, TruGreen (a) did not have a written policy, available upon demand, for

maintaining a do-not-call list, (b) did not inform and train its telemarketing employees in the

existence and use of the DNC list, and (c) did not record DNC requests and did not honor such

requests within a reasonable time from the date the requests were made.               See 47 C.F.R.

§ 64.1200(d). The undisputed material facts require dismissal of counts three and four of the

Complaint with prejudice. See Nece v. Quicken Loans, Inc., 292 F. Supp. 3d 1274, 1283 (M.D.

Fla. 2018) (granting summary judgment to defendant based on undisputed facts establishing

compliance with 47 C.F.R. § 64.1200(d)(1)-(4)); Hamilton v. Voxeo Corp., No. CIV.A. 3:07-CV-

404, 2009 WL 1868542, at *4 (S.D. Ohio June 25, 2009) (granting summary judgment to

defendant under 47 C.F.R. § 64.1200(d)(1) where plaintiff failed to prove that the defendant did

not have a policy honoring requests for copies of its DNC policy at the time of its two calls to

plaintiff).

II.     TRUGREEN IS PROTECTED BY THE TCPA’S SAFE HARBOR PURSUANT
        TO 47 C.F.R. § 64.1200(C).

        Plaintiff’s fifth and sixth causes of action allege that TruGreen initiated more than one

telephone solicitation within a 12-month period to her, despite her presence on the National DNC

Registry, in violation of 47 C.F.R. § 64.1200(c) and 47 U.S.C. § 227(c)(5). See Compl. ¶¶ 62-

68. The TCPA and its implementing regulations provide a safe harbor for telemarketers that

make a good faith attempt to avoid placing calls to phone numbers on the National DNC

Registry. Pursuant to 47 U.S.C. § 227(c)(5)(C), “[i]t shall be an affirmative defense in any

action brought under this paragraph that the defendant has established and implemented, with


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due care, reasonable practices and procedures to effectively prevent telephone solicitations in

violation of the regulations prescribed under this subsection.”

       The safe harbor applies when a defendant demonstrates that the telephone call was the

result of error and that as part of its routine business practice, it (a) has established and

implemented written procedures to comply with the national DNC rules, (b) has trained its

personnel, and any entity assisting in its compliance, in procedures established pursuant to the

national DNC rules, (c) has maintained and recorded a list of telephone numbers that the seller

may not contact, (d) uses a process to prevent telephone solicitations to any telephone number on

any list established pursuant to the DNC rules, (e) uses a process to ensure that it does not sell,

rent, lease, purchase or use the national DNC database, or any part thereof, for any purpose

except compliance, (f) has obtained the subscriber’s prior express invitation or permission.

47 C.F.R. § 64.1200(c)(2)(i)(A)-(E). The undisputed material facts demonstrate that TruGreen

satisfied each of the safe harbor’s elements.

       A.      TruGreen’s Calls to Plaintiff Were in Error.

       Any telemarketing call Plaintiff received more than thirty days after Plaintiff requested

that TruGreen stop calling her was made in error. See SUMF ¶¶ 9, 14; Zoller Dep. at 119-20.

Plaintiff received eight telephone calls from TruGreen in 2015. See SUMF ¶ 14. Plaintiff

received those telephone calls on January 20, 22, and 23, February 3, 9, 11, and 21, and April 2,

2015. See id. Plaintiff alleges that she registered for the National DNC Registry in 2013 and

that she requested TruGreen stop calling her during approximately three of the eight calls in

2015. See id.2 Plaintiff alleges that “[s]ome of these” eight calls were received thirty or more

days after her DNC request. See Compl. ¶ 23.3


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  Plaintiff could not recall the exact number of calls on which she alleged requested not to be
called, could not remember the dates of her requests, and could not remember the amount of time


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       The record does not contain evidence of the reason for any calls outside such a thirty-day

window. It is clear that TruGreen did not add Ms. Stevens-Bratton to any centralized calling

campaign at any time, which would be consistent with TruGreen’s Experian-based DNC

scrubbing procedures if she had requested not to be called. SUMF ¶ 7. It is possible that an

employee in TruGreen’s Little Rock Branch erroneously called Plaintiff using an outdated paper

list, contrary to TruGreen’s training and procedures. See, e.g., SUMF ¶¶ 18(h); Zoller Dep. at

42-43. Whatever the reason, if Plaintiff requested not to be called in early January 2015,

someone in TruGreen’s Little Rock branch called Plaintiff in error and in contravention of

TruGreen’s DNC training, policies, and procedures. In light of TruGreen’s comprehensive

TCPA compliance program—discussed below—any erroneous calls to Plaintiff cannot support a

claim under the TCPA.

       B.     TruGreen Implemented Written Procedures to Comply with the National
              DNC Registry.

       TruGreen established and implemented robust written procedures to comply with the

national DNC rule pursuant to 47 C.F.R. § 64.1200(c)(2)(i)(A). TruGreen’s procedures included

mandated training for employees on the history and requirements of the National DNC Registry,

descriptions of TruGreen’s accessing of the Registry, removal of numbers on the Registry from

telemarketing campaigns, and technical specifications on how TruGreen ensured proper

scrubbing of Registry numbers. See SUMF ¶ 15; Zoller Dep. at 132 and Ex.4, 139-46.




that elapsed between each request and the next alleged call. See SUMF ¶ 14; Stevens-Bratton
Dep. at 74-77. She did recall that the TruGreen employees on those three or so calls were
pleasant and agreed that TruGreen would stop calling Plaintiff. See id. at 75.
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  Telemarketers have up to thirty days to effectuate a DNC request.              See 47 C.F.R.
§ 64.1200(d)(3).



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        C.     TruGreen Trained its Employees to Comply with the National DNC
               Registry.

        TruGreen trained its personnel in procedures established pursuant to the national DNC

rules in compliance with 47 C.F.R. § 64.1200(c)(2)(i)(B). TruGreen personnel received DNC

training upon hire, at subsequent annual intervals, and in real-time as ad hoc situations arose.

TruGreen trained employees on DNC rules in person, through video presentations on TruGreen’s

internal website, and with paper or electronic material. TruGreen required its employees to

certify that they had completed their yearly DNC training, and maintained records of such

training.    TruGreen also monitored its sales employees, including by recording their

telemarketing calls, to facilitate training and to ensure the integrity of the sales process. See

SUMF ¶ 16; Zoller Dep. at 44-62 and Ex. 4, 134-35, 140, 148-49; Yelverton Dep. at 66-77.

        D.     TruGreen Maintained a List of Numbers on the National DNC Registry and
               Applied a Process to Prevent Telephone Solicitations those Numbers.

        TruGreen maintained a list of telephone numbers on the National DNC Registry in

compliance with 47 C.F.R. § 64.1200(c)(2)(i)(C) and implemented a process to prevent

solicitations to those numbers pursuant to 47 C.F.R. § 64.1200(c)(2)(i)(D). See SUMF ¶¶ 17-18;

Zoller Dep. at 21, 65-66, 76-80, 143-46. To obtain access to the National DNC Registry,

TruGreen obtained a Subscription Account Number (“SAN”) from the Federal Trade

Commission each year. See id. TruGreen partnered with a vendor named Experian to help

ensure that TruGreen’s list of numbers on the National DNC Registry was always up-to-date,

and to help implement TruGreen’s processes to prevent calls to individuals on those lists. See

SUMF ¶ 18(a). Another vendor, ClickPoint, provided TruGreen with a software platform that

integrated DNC information—including the National DNC Registry—into TruGreen’s

telemarketing campaigns to make sure that TruGreen did not call numbers on the Registry. See

SUMF ¶ 18(c).


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       TruGreen implemented processes to synch Experian and ClickPoint with each other and

with Mission, TruGreen’s customer relationship management platform. SUMF ¶ 18. In some

instances, TruGreen employed redundant safety checks, and went beyond the requirements of the

TCPA’s implementing regulations, to ensure the best possible customer experience. TruGreen’s

processes were designed to ensure that no sales employee improperly called numbers on the

National DNC Registry:

      Experian updated federal and state DNC information for TruGreen on at least a monthly
       basis. See SUMF ¶ 18(b); Smith Dep. at 24, 34-36. Experian also updated its
       information on TruGreen’s internal DNC list with a daily download of information from
       ClickPoint and a weekly sync with TruGreen’s Mission system. See id.

      Like Experian, ClickPoint’s software program, called the Do Not Contact Portal,
       maintained information regarding federal, state, and internal DNC lists. TruGreen
       employees could record internal DNC requests directly into the Do Not Contact Portal,
       which updated the Portal instantaneously. ClickPoint also received federal and internal
       DNC information from Experian on a weekly basis and automatically updated the Do Not
       Contact Portal with that information. See SUMF ¶ 18(c); Yelverton Dep. at 47-48; Zoller
       Dep. at 59-62; Smith Dep. at 38, 39-40.

      TruGreen developed telemarketing campaigns approximately once a year, beginning with
       lead information from Mission (for current and former customers), Experian (for
       prospective customers), or direct customer inquiries. See SUMF ¶ 18(d). TruGreen used
       an Experian-provided software program called MCM to set the criteria for inclusion in
       the campaign. Once the campaign program was built, it ran on a recurring basis once a
       week. Each week, Experian sent TruGreen refreshed campaign files. Experian scrubbed
       the campaign files to remove any individual that TruGreen should not call pursuant to
       applicable rules relating to the National DNC Registry and state DNC list. Experian also
       scrubbed the campaign files to remove any individual on TruGreen’s internal DNC list.
       See Smith Depo at 24-29, 60-62; Zoller Dep. at 77-79.

      TruGreen downloaded the weekly refreshed campaign files from Experian, then
       performed its own secondary scrubbing of the files using DNC information that TruGreen
       downloaded on a daily basis from the Clickpoint Do Not Call Portal. See SUMF ¶ 18(e).
       After these two layers of DNC scrubbing, TruGreen loaded the scrubbed and refreshed
       campaign files into SalesExec. SalesExec presented TruGreen sales agents with
       telephone numbers that would be manually dialed, from the scrubbed lists, to call for
       telemarketing purposes. As an additional safety check, ClickPoint automatically
       prohibited the pulling of any telephone number identified on the national or internal DNC
       lists in the ClickPoint DNC portal. See SUMF ¶ 18(f); Zoller Dep. at 80-82, 85-89, 104-
       06, 143-45; Smith Dep. at 39-40, 47-49.



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      Once a day, Experian and TruGreen’s Customer Relationship Management database,
       Mission, received an internal DNC list update via an automated download of information
       from ClickPoint. Once a week, TruGreen received a federal and state DNC list update
       via an automated download of information from Experian. Mission maintained DNC
       flags for all current and former customers based on these updates. See SUMF ¶ 18(g);
       Zoller Dep. at 66-67; Yelverton Dep. at 22, 63-64.

       Although a majority of TruGreen’s telemarketing occurs out of telecenters, branch

employees also engage in telemarketing. In 2015, some branch employees without access to

SalesExec made telemarketing calls based on paper lists of customers that their supervisors

printed from SalesExec or Mission. Branch employees were required to check each telephone

number in Mission for applicable DNC flagging before calling the number for telemarketing

purposes. TruGreen also instructed those employees to remove expired call lists from the sales

floor after any update to the lists, and to immediately remove calling material after receiving a

DNC request from a person on a list. See SUMF ¶ 18(h); Zoller Dep. at 42-43, 126.

       E.     TruGreen Did Not Sell, Rent, Lease, Purchase, or Use the National DNC
              Registry for any Purpose other than Compliance with Applicable
              Regulations.

       TruGreen used a process to ensure that it did not sell, rent, lease, purchase or use the

national DNC database, or any part thereof, for any purpose except compliance, pursuant to 47

C.F.R. § 64.1200(c)(2)(i)(E). See SUMF ¶ 19. TruGreen did not participate in cost sharing for

access to the National DNC Registry. Each year since 2015, TruGreen has obtained a certified

Subscription Account Number (“SAN”) from the Federal Trade Commission to access and use

the National DNC Registry. TruGreen has never let any other entity access the National DNC

Registry with TruGreen’s SAN. See id.

       F.     The TCPA’s Safe Harbor Requires Dismissal of Plaintiff’s National DNC
              Registry Claims.

       Based on these undisputed facts, TruGreen falls within the TCPA’s statutory safe harbor.

47 C.F.R. § 64.1200(c)(2)(i).    Even assuming TruGreen improperly made more than one


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telephone call to Ms. Stevens-Bratton more than thirty days after she requested not to be called,

TruGreen’s good faith efforts to prevent improper calls to persons on the National DNC Registry

protect TruGreen from liability for those calls. The Court should grant summary judgment to

TruGreen on Plaintiff’s fifth and sixth causes of action and dismiss those claims with prejudice.

                                         CONCLUSION

       For all of the reasons discussed above, Plaintiff’s third, fourth, fifth, and sixth cause of

action are without merit. Plaintiff cannot present proof to satisfy the elements of her claims

under 47 C.F.R. § 64.1200(d) & 47 U.S.C. § 227(c)(5).             Nor can she dispute the facts

establishing TruGreen’s compliance with the statutory safe harbor under 47 C.F.R. § 64.1200(c)

& 47 U.S.C. § 227(c)(5). Accordingly, the Court should grant summary judgment in TruGreen’s

favor and dismiss Plaintiff’s third through sixth claims with prejudice.



                                                     Respectfully Submitted,

                                                     s/ George T. Lewis III
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                                                     Matthew S. Mulqueen (TN #28418)
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                               CERTIFICATE OF SERVICE

        I hereby certify that, on September 12, 2018, the foregoing was electronically filed with
the Clerk of the Court using the CM/ECF system, which will send a notification to the attorneys
of record in this matter who are registered with the Court’s CM/ECF system.


                                                    s/ George T. Lewis, III




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